                 Case 18-25116                    Doc 5          Filed 07/11/18      Entered 07/11/18 10:12:13                   Desc Main
                                                                    Document         Page 1 of 1
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                         District of Utah
 In re       The Falls Event Center LLC                                                                       Case No.
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $               hourly rate
             Prior to the filing of this statement I have received                                        $                 32,123.50
             Balance Due                                                                                  $     Zero as of petition;
                                                                                                                 post petition fees
                                                                                                                 as allowed by the
                                                                                                                 Bankruptcy Court

2.     The source of the compensation paid to me was:
                  Debtor                 Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                 Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed] All aspects pertaining to the Chapter 11 case.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service: N/A

                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     July 10, 2018                                                             /s/ Michael R. Johnson
     Date                                                                      Michael R. Johnson 7070
                                                                               Signature of Attorney
                                                                               Ray Quinney & Nebeker P.C.
                                                                               36 South State Street, Suite 1400
                                                                               Salt Lake City, UT 84111

                                                                               Name of law firm




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
